82 F.3d 409
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Keith P. BROWN, Plaintiff-Appellant,v.Ben WILSON, Grievance Coordinator;  John M. Price, ActingWarden, Baltimore City Detention;  MarshaBroaddus, Director of Health Services,Baltimore City DetentionCenter, Defendants-Appellees.
    No. 95-7840.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 10, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Catherine C. Blake, District Judge.  (CA-95-588-CCB)
      Keith P. Brown, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Evelyn Omega Cannon, Assistant Attorney General, Regina Hollins Lewis, Assistant Attorney General, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Brown v. Wilson, No. CA-95-588-CCB (D.Md. Nov. 8, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    